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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

ANDREW ALEXANDER, et al.                                                         PLAINTIFFS

V.                                                  CIVIL ACTION NO. 4:20-CV-21-SA-JMV

PELICIA E. HALL, et al.                                                        DEFENDANTS

                                  ORDER CLOSING CASE

       Consistent with the Court’s previous Orders [221, 223], the Plaintiffs’ claims are hereby

DISMISSED without prejudice. This CASE is CLOSED.

       SO ORDERED, this the 6th day of January, 2025.

                                                   /s/ Sharion Aycock
                                                   UNITED STATES DISTRICT JUDGE
